Case 1:04-cv-01326-.]DT-STA Document 34 Filed 04/22/05 Page 1 of 2 Page|D 38

IN THE UNITED STATES DISTRIC‘T COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

UNITED S'I'ATES OF AMERICA NO. l-O4-l326-T-AI'1
Petitioner,

V .
THOMAS BINGHAM ,

Respondent.

 

ORDER CLOSING CASE

It appearing to the Court that the above“referenced

respondent, has substantially complied with the requirements set

forth in the September 7, 2004, Internal Revenue Service Summons,

and therefore this case is hereby closed.

Q)/)M¢Z>-M

:Ws 39 ToDD
TED sTATEs DISTRICT JUDGE

Mw~?%é"

IT IS SO ORDERED,

 

Thle document entered on the docket sheet l

ncmnmwm»
with Rule 58 andlor 79 (a) FHCP on ‘

'*’“:j

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:04-CV-01326 Was distributed by faX, mail, or direct printing on
Apri122, 2005 to the parties listed.

ESSEE

 

Thomas Bingham
6 Blackthorne Cove
Jackson7 TN 38305

Jerry Hanover SchWartZ

LAW OFFICE OF JERRY SCHWARTZ
5100 Poplar Ave.

Ste. 2700

i\/lemphis7 TN 38137

Jimmy L. Croom

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

